Case 2:21-mj-04450-DUTY Document3 Filed 10/06/21 Page1lof3 Page ID #:103

AQ 93C (Rev. 8/18) Warrant by Telephone of Other Reiiable Electronic Means O Onginal O Duplicate Original

 

 

 

UNITED STATES DISTRICT COURT

for the
Central District of California

In the Matter of the Search of

(Briefly describe the property to be searched or identify the

person by name and address) Case No. 2:21-MJ-4450

The SUBJECT VEHICLE 2, a black, 2012
International tow truck bearing California license
plate 844M08

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WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Central District of California (identify the person or describe the property to be searched
and give its location):

See Attachment A-3

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal fidentify the person or describe the property to be seized):

See Altachment B

Such affidavit(s) or testimony are incorporated herein by reference and attached hereto.

YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (nor to exceed 14 days)
[X] in the daytime 6:00 a.m. to 10:00 p.m. [(] at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory

as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time of the return
through a filing with the Clerk's Office.

LC) Pursuant to 18 U.S.C, § 3103a(b), I find that immediate notification may have an adverse result listed in ]8 U.S.C,
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

 

 

 

 

 

C) for. days (not to exceed 30) {_) until, the facts justifying, the later specific date of
Date and time issued: 9/24/21 1:39 p.m. JAX
Judge's signature
City and state: Los Angeles, CA Hon. Margo A. Rocconi, U.S. Magistrate Judge

Printed name and title

AUSA: Gregg Marmaro x8500
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AO 93C (Rev. 8/18) Warrant by Telephone of Other Reliable Electronic Means (Page 2)

 

 

 

 

Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
2:41 -MJ -yyso thea lea Updo 62S SouvA MURAD yan
Inventory made in the presence of :

 

SA Cake MACLEALNS BELEY

 

Inventory of the property taken and name of any person(s) seized:

Ste ATTACHED.

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

 

Date: _ (0 (ou ler

 

  

rer's signature

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Printed name and title

 

 

 
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